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            IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. CROIX
UNITED STATES OF AMERICA            )
                                    )
            Plaintiff,              )
                                    )              CRIMINAL NO. 2008-0020
            v.                      )
                                    )
AMON THOMAS, NATHANIEL              )
THOMAS, and OKIMO MILLIGAN           )
                                    )
            Defendants.             )
____________________________________ )


                                           ORDER
FINCH, SENIOR JUDGE

       THIS MATTER comes before the Court on Motions to Dismiss Count 3 of the

Indictment filed by Defendant Amon Thomas on July 16, 2009 (Docket No. 149) and Defendant

Okimo Milligan on July 17, 2009 (Docket No. 150). Defendants move to dismiss Count 3 on the

grounds that the applicable statute is unconstitutionally vague and overbroad. The government

opposes Defendants’ Motions. After careful consideration and for the reasons stated in the

accompanying Memorandum Opinion, it is hereby


       ORDERED that Defendant Amon Thomas’s Motion to Dismiss Count 3 of the

Indictment (Docket No. 149) is DENIED. It is further


       ORDERED that Defendant Okimo Milligan’s Motion to Dismiss Count 3 of the

Indictment (Docket No 150) is DENIED.




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    ENTERED this 16th day of September, 2009.


                                    _____________/s/________________________
                                    HONORABLE RAYMOND L. FINCH
                                    SENIOR U.S. DISTRICT JUDGE




                                       2
